

Matter of Dakarai M.K.R. (Femi R.) (2018 NY Slip Op 02054)





Matter of Dakarai M.K.R. (Femi R.)


2018 NY Slip Op 02054


Decided on March 23, 2018


Appellate Division, Fourth Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided on March 23, 2018
SUPREME COURT OF THE STATE OF NEW YORK
Appellate Division, Fourth Judicial Department

PRESENT: SMITH, J.P., PERADOTTO, LINDLEY, CURRAN, AND WINSLOW, JJ.


185 CAF 16-00584

[*1]IN THE MATTER OF DAKARAI M.K.R. ERIE COUNTY DEPARTMENT OF SOCIAL SERVICES, PETITIONER-RESPONDENT; FEMI R., RESPONDENT-APPELLANT. (APPEAL NO. 3.)






DAVID J. PAJAK, ALDEN, FOR RESPONDENT-APPELLANT.
AMBER R. POULOS, BUFFALO, FOR PETITIONER-RESPONDENT.
DEAN S. PULEO, BUFFALO, ATTORNEY FOR THE CHILD. 


	Appeal from an order of the Family Court, Erie County (Margaret O. Szczur, J.), entered March 4, 2016 in a proceeding pursuant to Family Court Act article 10. The order placed the subject child in the custody of petitioner. 
It is hereby ORDERED that the order so appealed from is unanimously affirmed without costs.
Same memorandum as in Matter of Deseante L.R. ([appeal No. 1] — AD3d — [Mar. 23, 2018] [4th Dept 2018]).
Entered: March 23, 2018
Mark W. Bennett
Clerk of the Court








